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AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                           District of Nevada

                  United States of America                         )
                             v.                                    )      Case No. 2:12-cr-268-MMD-CWH
                                                                   )
                    YOUNG CHOI                                     )
                            Defendant                              )

                                        ORDER SCHEDULING A DETENTION HEARING


          A detention hearing in this case is scheduled as follows:

          U.S. DISTRICT COURT
Place:                                                                    Courtroom No.:      3C
          333 LAS VEGAS BLVD. SOUTH
          LAS VEGAS, NV 89101                                                                 Tuesday, February 5, 2013,
                                                                          Date and Time:
                                                                                              3:00 PM

        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:       February 4, 2013
                                                                                             Judge’s signature


                                                                          C. W. HOFFMAN, JR., U.S. MAGISTRATE JUDGE
                                                                                           Printed name and title
